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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS


  IN RE KRAFT HEINZ SECURITIES                         Case No. 1:19-cv-01339
  LITIGATION
                                                       Honorable Robert M. Dow, Jr.




  CITY OF HOLLYWOOD POLICE                             Case No. 1:20-cv-01970
  OFFICERS’ RETIREMENT SYSTEM,
  Individually, and on Behalf of All Others            Honorable Sharon Johnson Coleman
  Similarly Situated,
  Plaintiff,
  v.
  THE KRAFT HEINZ COMPANY, 3G
  CAPITAL PARTNERS, 3G CAPITAL, INC.,
  3G GLOBAL FOOD HOLDINGS, L.P., 3G
  GLOBAL FOOD HOLDINGS GP LP, 3G
  CAPITAL PARTNERS LP, 3G CAPITAL
  PARTNERS II LP, 3G CAPITAL PARTNERS
  LTD., BERNARDO HEES, PAULO
  BASILIO, and ALEXANDRE BEHRING,
  Defendants.



                                      NOTICE OF FILING

         PLEASE TAKE NOTICE that, on the 22nd day of April, 2020, the undersigned filed by

ECF with the Clerk of the United States District Court for the Northern District of Illinois the

following documents in the matter of In re Kraft Heinz Securities Litigation, Case No. 19-cv-

01339:

         1. Lead Plaintiffs’ Notice of Non-Opposition to Motion to Consolidate Related Case and
            Vacate PSLRA Notice, with attached Stipulation and [Proposed] Order and
            Certificate of Service, docketed at ECF No. 243.
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Dated: April 22, 2020              Respectfully submitted,

                                    /s/ Sharan Nirmul
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                                    Management Holding AG and Co-Lead Counsel for
                                    the Class




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                                CERTIFICATE OF SERVICE

       I, Sharan Nirmul, hereby certify that on April 22, 2020, I caused a true and correct copy

of the foregoing Notice of Filing to be served on all counsel of record via the Court’s ECF

system.


                                             By: /s/ Sharan Nirmul
                                                     Sharan Nirmul




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